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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION
                                CASE NUMBER: FY%++

  ADELAIDE DIXON, INDIVIDUALLY                     )
  AND ON BEHALF OF ALL OTHERS                      )
  SIMILARLY SITUATED                               )
                           Plaintiff,              )
                                                   )        CLASS ACTION COMPLAINT
  v.                                               )         (JURY TRIAL DEMANDED)
                                                   )
  UNIVERSITY OF MIAMI                              )
                Defendants.                        )
                                                   )
                                                   )

                                           I. INTRODUCTION

       1. Plaintiff Adelaide Dixon (hereinafter “Dixon”), individually and on behalf of all others

          similarly situated (“the Putative Class”), brings this class action lawsuit against

          University of Miami (“Defendant”) seeking a refund of certain tuition fees and other

          costs paid to Defendant for the 2020 Spring Semester.

       2. Specifically, as set forth more fully below, Plaintiff and the Putative Class members

          contracted with Defendant for certain services, and paid for those services in the form of

          tuition and other fees. As a result of the closure of Defendant’s facility, Defendant has

          not delivered the services that the Putative Class contracted and paid for.

       3. As a result, the Putative Class is entitled to a refund on all tuition and fees for which

          Defendant has been unable to provide the contracted for services, facilities, access and/or

          opportunities.

                                                II. PARTIES

       4. Defendant University of Miami is an institution of higher learning located in Coral
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        Gables, State of Florida.

     5. Plaintiff Dixon is an individual and a resident and citizen of the state of South Carolina.

                                    III. JURISDICTION AND VENUE

     6. This Court has jurisdiction over this action pursuant to the Class Action fairness Act

        (“CAFA”), 28 U.S.C. § 1332(d), because at least one class member is of diverse

        citizenship from one Defendant, there are more than 100 Class members, and the

        aggregate amount in controversy exceeds $5 million, exclusive of interest and costs.

     7. This Court has personal jurisdiction over Defendant because Defendant conducts

        business in South Carolina and has sufficient minimum contacts with South Carolina.

     8. The Defendant has solicited students residing in South Carolina to attend their institution;

        has accepted money, including application and other fees, from students residing in South

        Carolina; has participated in college sports competitions and/or academic competitions in

        South Carolina; have websites accessible to students in South Carolina; have entered into

        contracts with South Carolina residents; and generally have minimum contacts in South

        Carolina sufficient to satisfy the Due Process Clauses of the South Carolina and United

        States Constitutions.

     9. Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part of

        the events or omissions giving rise to the claims occurred in this District. Specifically,

        the contract that is the subject of this action was formed in this District.

                                               IV. FACTS

     10. Plaintiff is enrolled as a full time student for the spring 2020 academic semester at

        Defendant’s institution.

     11. As a precondition for enrollment, Plaintiff was required to and did pay tuition, as did all
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        members of the proposed Class.

     12. There are hundreds, if not thousands, of institutions of higher learning in this country.

     13. Many institutions of higher learning offer curriculum and instruction that is offered on a

        remote basis through online learning which do not provide for physical attendance by the

        students.

     14. Defendant’s institution offers in person, hands on curriculum.

     15. Plaintiff and members of the Proposed Class did not choose to attend another institution

        of higher learning, but instead chose to attend Defendant’s institution and enroll on an in-

        person basis.

     16. Defendant markets the on campus experience as a benefit of enrollment:




     17. The tuition and fees for in person instruction at Defendant’s institution are higher than

        tuition fees for other online institutions because such costs cover not just the academic
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        instruction, but encompass an entirely different experience which includes but is not

        limited to:

           i.   Face to face interaction with professors, mentors, and peers;

          ii.   Access to facilities such as computer labs, study rooms, laboratories, libraries, etc;

         iii.   Student governance and student unions;

          iv.   Extra-curricular activities, groups, intramurals, etc;

          v.    Student art, cultures, and other activities;

          vi.   Social development and independence;

         vii.   Hands on learning and experimentation; and

        viii.   Networking and mentorship opportunities.

     18. As a further precondition to enrollment, Plaintiff was required to and did pay additional

        mandatory fees in addition to tuition, as did all members of the proposed Class.

     19. These mandatory fees include but are not necessarily limited to the following:

           i.   Student Activity Fee

          ii.   Athletic Fee

         iii.   Wellness Center Fee

          iv.   Student Health and Counseling Centers Fees

          v.    Student Center Fee

     20. Each of these additional fees was a required charge to cover the costs of opportunities

        and services that can only be made available to students while the students are physically

        present on campus. For example, attendance to athletic events, access to the wellness

        center and student center, etc.

     21. In addition to the tuition and mandatory fees, Defendant charges optional fees for other
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        activities and services that can only benefit students while students are on campus.

        Examples include but are not limited to room and board, parking fees, intramural and

        extra-curricular fees, etc.

     22. As a result of the COVID-19 pandemic, Defendant has suspended all in person on-

        campus activities, and has barred students from entering campus for the remainder of the

        spring semester.

     23. Although Defendant is still offering some level of academic instruction via online

        classes, Plaintiff and members of the proposed Class have been and will be deprived of

        the benefits of on campus learning as set forth more fully above.

     24. Moreover, the value of any degree issued on the basis of online or pass/fail classes will

        be diminished for the rest of Plaintiff’s life.

     25. To date, Defendant has failed and continues to fail to refund any portion of Plaintiff and

        Class members’ spring 2020 tuition payment, or such refund has been inadequate.

     26. Moreover, Plaintiff and members of the proposed Class have been and will be deprived

        of utilizing services for which they have already paid, such as room, board, access to

        campus facilities, parking, and other opportunities.

     27. To date, Defendant has failed and continues to fail to adequately and fully refund

        Plaintiff and Class members’ fees for on campus services which Defendant is no longer

        providing.

                                 V. CLASS ACTION ALLEGATION

     28. Plaintiff brings this action on behalf of herself and as a class action, pursuant to the

        provisions of Rule 23 of the Federal Rules of Civil Procedure on behalf of the following

        Class:
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                The Class:

                All students who are enrolled at Defendant’s institution for the spring semester of
                the 2020 academic year, and who have paid tuition, mandatory fees, or voluntary
                fees for privileges or services that Defendant’s institution has failed to provide,
                and whose tuition and fees have not been refunded.

     29. Certification of Plaintiff’s claims for class-wide treatment is appropriate because Plaintiff

        can prove the elements of her claims on a class-wide basis using the same evidence as

        would be used to prove those elements in individual actions alleging the same claims.

     30. This action has been brought and may be properly maintained on behalf of the Class

        proposed herein under Federal Rule of Civil Procedure 23.

                a. Numerosity: F. R. Civ. P. 23(a)(1)

     31. The members of the Class are so numerous and geographically dispersed that individual

        joinder of all Class members is impracticable. Plaintiff is informed and believes there are

        thousands of members of the Class, the precise number being unknown to Plaintiff, but

        such number being ascertainable from Defendant’s records. Class members may be

        notified of the pendency of this action by recognized, Court-approved notice

        dissemination methods, which may include U.S. mail, electronic mail, internet postings,

        and/or published notice.

                b. Commonality and Predominance: Fed. R. Civ. P. 23(a)(2)

     32. This action involves common questions of law and fact, which predominate over any

        questions affecting individual Class members, including, without limitation:

           i.   Whether Defendant accepted money from the putative Class members in

                exchange for the promise to provide services;

          ii.   Whether Defendant has provided the services for which the putative Class

                members contracted; and
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         iii.   Whether the putative Class members are entitled to a refund for that portion of the

                tuition and fees that was contracted for services that Defendant has not provided.

                c. Typicality: Fed. R. Civ. P. 23(a)(3)

     33. Plaintiff’s claim is typical of the other Class member’s claims because, among other

        things, all Class members were similarly situated and were comparably injured through

        Defendant’s wrongful conduct as set forth herein.

                d. Adequacy: F. R. Civ. P. 23(a)(4)

     34. Plaintiff is an adequate Class representative because her interests do not conflict with the

        interests of other members of the class she seeks to represent. Plaintiff has retained

        counsel competent and experienced in complex litigation; and Plaintiff intends to

        prosecute the action vigorously. The Class’s interests will be fairly and adequately

        protected by Plaintiff and her counsel.

                e. Superiority: F. R. Civ. P. 23(b)(3)

     35. A class action is superior to any other available means for the fair and efficient

        adjudication of this controversy, and no unusual difficulties are likely to be encountered

        in the management of this class action. The damages or other financial detriment

        suffered by Plaintiff and other Class members are relatively small compared to the

        burden and expense that would be required to individually litigate their claims against

        Defendant, so it would be impracticable for members of the Class to individually seek

        redress for Defendant’s wrongful conduct.

     36. Even if Class members could afford individual litigation, the Court system likely could

        not. Individualized litigation creates a potential for inconsistent or contradictory

        judgments, and increases the delay and expense to all parties and the court system. By
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        contrast, the class action device presents far fewer management difficulties and provides

        the benefits of single adjudication, economy of scale, comprehensive supervision by a

        single court, and finality of the litigation.

                     VI. FOR A FIRST COLLECTIVE CAUSE OF ACTION
                                   (Breach of Contract)

     37. Plaintiff incorporates by reference all preceding allegations as though fully set forth

        herein.

     38. Plaintiff brings this count on behalf of herself and the Class.

     39. Through the admission agreement and payment of tuition and fees, Plaintiff and the Class

        members entered into a binding contract with Defendant.

     40. As part of the contract, and in exchange for the aforementioned consideration, the

        Defendant promised to provide certain services, all as set forth in Section IV above.

     41. The Defendant has failed to provide those services and has otherwise not performed

        under the contract as set forth above.

     42. The Plaintiff and the class members have suffered damage as a direct and proximate

        result of Defendant’s breach, including but not limited to being deprived of the

        experience and services to which they were promised and for which they have already

        paid.

     43. As a direct and proximate result of Defendant’s breach, Plaintiff and the Class are

        entitled to damages, to be decided by the trier of fact in this action, to include but not be

        limited to reimbursement of certain tuition, fees, and other expenses that were collected

        by Defendant for services that Defendant has failed to deliver.
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                   VII.    FOR A SECOND COLLECTIVE CAUSE OF ACTION
                                       (Unjust Enrichment)

     44. Plaintiff incorporates by reference all preceding allegations as though fully set forth

         herein.

     45. Plaintiff brings this action on behalf of herself and the Class.

     46. Plaintiff and members of the Class conferred a benefit on Defendant by, inter alia, paying

         tuition and other fees in exchange for certain services and promises.

     47. Defendant has realized this benefit by accepting such payment.

     48. Defendant has retained this benefit, even though Defendant has failed to provide the

         services for which the fees were collected, making Defendant’s retention unjust under the

         circumstances.

     49. Defendant should be required to disgorge this unjust enrichment.



     WHEREFORE, Plaintiff, individually and on behalf of members of the Class, prays for

  certification of the proposed Class, including appointment of Plaintiff’s counsel as Class

  Counsel; together with judgment against Defendant for an amount to be ascertained by the jury

  at the trial of this action, for all damages, for the cost and disbursements of this action, both pre-

  judgment and post-judgment interest, attorneys’ fees, and for such other and further relief, in law

  or in equity, as this Court may deem just and proper.




                                     [signatures on following page]
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                                     Respectfully Submitted,

                                     ANASTOPOULO LAW FIRM, LLC

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  Charleston, South Carolina
  April 8, 2020
